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UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT ()F GEORGIA
ATLANTA DIVISION

 

FEDERAL TRADE COMMISSION
and STATE OF GEORGIA,

Plaintiffs,
v.

LAPTOP & DESKTOP REPAIR, LLC, Case No. l:l6-CV-359l-AT
a Nevada limited liability eompany, also
d/b/a cashforiphones.com,
cashforlaptops.corn, ecyclebest.com,
smartphonetraders.com, sell-your-
cell.com; and VADIM OLEGOVICH
KRUCHININ, also a/k/a Vadim
Kruchin, David Kruohin, David Vadim
Kruchin, Dave Kruch, as the owner and
an officer of Defendant Laptop &
Desktop Repair, LLC,

Defendants.

 

 

FINAL REPORT BY RECEIVER AND M()TI()N FOR AN ORDER (A)
APPR()VING ACCOUNTING; (B) AUTHORIZING RESERVE,
PAYMENT ()F ADMINISTRATIVE EXPENSES AND PROFESSIONAL
FEES AND COSTS AND FINAL DISBURSEMENTS; (C) AUTHORIZING
THE ABANDONMENT OF REMAINING RECORDS, ASSETS AND 401K
PLAN; AND (D) DISCHARGING AND RELEASING THE RECEIVER
AND CLOSING RECEIVERSHIP AND MEMORANDUM IN SUPPORT
THEREOF

COMES NOW, Hays Financial Consulting LLC and S. Gregory Hays, the

duly authorized and acting Receiver herein (collectively, the “Receiver”), by and

 

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through counsel, and herewith makes and files this Final Report by Receiver
and Motz'on for an Order (a) Approving Accounting; (b) Authorizz'ng Reserve,
Payment of Adminislrative Expenses and Professz'onal Fees and Costs, and Final
Disbursements,' (c) Authorizing the Abandonment ofRemainz'ng Records, Assets and
4 01K Plan,' and (d) Dz`schargz'ng and Releasing Receiver and Closing Receivershz'p
and Memorandum in Support T hereof (the “Final Report” and “Motion”) and
shows as follows:
l SUMMARY
l. The Receiver is pleased to report to the Couit that the activities of the
Receivership have substantially concluded, the duties, responsibilities and
obligations of the Receiver have been substantially performed, and the grounds for
the Receivership no longer exist. After performing certain additional tasks and
making certain payments as set forth herein, the Receiver proposes to transfer to the
Federal Trade Commission (“FTC”) the remaining funds held by the Receiver that
are property of the Receivership as further set forth herein so that the FTC, in turn,
may distribute such funds to consumers harmed by the Defendants’ activities The
Receiver accordingly requests an Order: a) approving the Final Report; b)
authorizing the Receiver to: i) complete the administration of the Receivership; ii)
maintain a reserve, pay administrative expenses and professional fees and costs, and

make fmal disbursements, and iii) abandon remaining assets, records and a small

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401K Plan established by Defendant LDR; and c) discharging and releasing the
Receiver, exonerating the Receiver’s bond, and closing the Receivership.
II. FINAL REPORT

A. ProceduralBackground

2. The Receiver was initially appointed on September 26, 2016, in the
Temporary Restraining Order (the “TRO”) [ECF No. 9] entered in the above-
captioned case. This Court appointed the Receiver for the business activities of the
receivership (the “Receivership”) defendant Laptop & Desktop Repair, LLC
' (“Receivership Defendant”) that consisted of the purchase and resale of
smartphones and laptop equipment

3. The Court reappointed the Receiver in the Stipulated Preliminary
Injunction Order (the “Preliminary Injunction”) entered on October 5, 2016 [ECF
No. 14]. Both the TRO and Preliminary Injunction (the “Receivership Orders”)
authorize the Receiver to, among other conduct, marshal and seek to sell the assets
of the Receivership Defendant

4. On May l9, 2017, this Court entered its Default Judgment and Order
for Perrnanent Injunction and Other Equitable Relief Against Defendants Laptop &
Desktop Repair, LLC and Vadim Kruchinin (the “Final Judgment”) [ECF No. 47].
Pursuant to Article V of the Final Judgment, the Receiver was directed to complete

the duties of the Receiver within 120 days of the date on which the Final Judgrnent

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was entered. The Court subsequently entered an Order Granting Receiver’s Motion
to Further Extend Receiver’s Term To and Through March 15, 2018, (the
“Extension Order”) [ECF No. 56], incident to which the term of the Receiver was
further extended to and through March 15 , 2018. A further Order was entered
extending the Receiver’s term to and through April 30, 2018 [ECF 58] and a final
Order was entered extending the Receiver’s term to and through May 31, 2018 [ECF
60].
B. Receivership Activities
5. The Receivership Orders authorized and direct the Receiver, among
other things, to:
a. Assume full control of the Receivership Defendant, see Preliminary
Injunction, XI(A);
b. Take custody, control and possession of all assets of the
Receivership Defendant, see Preliminary Injunction, XI(B); and
c. Liquidate any securities, commodities, or inventory owned by or for
the benefit of the Receivership Defendant, see Preliminary
Injunction, XI(C)(9).
6. As authorized in the Receivership Orders, the Receiver employed the

Law Offlces of Henry F. Sewell, Jr., LLC of Atlanta, Georgia to serve as attorneys

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for the Receiver and the firm of Hays Financial Consulting, LLC also acted as
Financial Advisors to the Receiver.

7. Consistent with the responsibilities of the Receiver pursuant to the
Receivership Orders, Receiver prepared and filed two separate motions to expand
the Receivership [ECF Nos. 23 and 38] that were granted by the Court [ECF Nos.
28 and 45] to include Coney Island 84, Inc. and real property owned by Vadim
_ Kruchinin located at 5390 Vista Ridge Way, Reno, Nevada 89523.

8. Since the appointment of the Receiver, the Receiver and the
professionals engaged by the Receiver have worked diligently to take control of the
assets of the Receivership and marshal and liquidate these assets. The Receiver’s
investigation of the affairs of the Receivership Defendant was hampered by the
condition of the records of the Receivership Defendant. Based upon a review and
analysis of the documents obtained by the Receiver, the Receiver completed an
accounting of the inventory of the Receivership Defendant and believes that the
Receiver has now accounted for and liquidated the assets of the Receivership
Defendant. Incident to the liquidation of such assets, the Receiver filed two separate
motions to sell assets [ECF Nos. 36 and 48] that were granted by the Court [ECF
Nos. 44 and 50]. The Receiver has also reviewed certain claims and consulted with

the FTC with regard to a plan to conclude the administration of the Receivership.

 

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9. For the past year, the primary delay in closing this case has been the
return of the “Caged Inventory” to consumers pursuant to the Order Granting
Receiver’s Motion for Approval of Private Sale of Real and Personal Property [ECF
No. 36] (the “Warehouse Sale Order”). Pursuant to the terms of the Warehouse
Sale Order, the Receiver was directed to work with the purchaser of inventory from
the Receiver (the “Purchaser”) to return items stored in a separate cage in the
Receivership Defendants’ warehouse. This inventory, Which had been received by
the Receivership Defendants prior to the Receiver’s appointment but had not been
processed by the Receivership Defendants, has been consistently referred to during
this case as the “Caged Inventory”. Pursuant to the terms of the Warehouse Sale
Order, the Receiver was directed to contact each affected consumer and offer such
consumer the opportunity to sell their item to the Purchaser or to have their item
returned to them. The form of the letter sent to such consumers was approved to this
Court.

10. A total of 1,011 affected consumers were contacted, of which 680 were
resolved either through the return of or the payment for their device. The process of
returning the Caged Inventory was complicated and delayed because many addresses
turned out to be invalid and the Receiver has had to expend additional time tracking
down affected consumers Although 331 consumers did not, and still have not,

responded, the Receiver does not believe any further delay in closing the case is

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warranted and proposes to resolve the issues related to these consumers as set forth
below.

11. The Receivership Defendants had less than $30,000 in cash at the time
of the appointment of the Receiver. The Receiver, by expanding the Receivership
to include Coney Island 84, Inc., which owned the warehouse from which the
Receivership Defendant operated as well as Defendant Kruchinin’s personal
residence, was able to generate total recoveries of $958,000 in this case. In addition,
by quickly halting LDR’s business activities, obtaining the consent of the LDR’s
lenders to return all unopened packages, arranging With the US Postal Service, UPS
and Federal Express for the rejection of future consumer devices and establishing a
process to return the “Caged Inventory”, the Receiver was able to fully compensate
over three thousand consumers by either returning their property to them or paying
them an agreed upon amount for their property.

12. Final Accounting. Attached hereto as Exhibit “A” and incorporated
herein by reference is an accounting related to the Receivership as of the date of this
Motion. This accounting includes all asset recoveries and proceeds from the
liquidation of the assets of the Receivership.

13. Caged Inventory Payment: As noted above, 331 consumers
(“Unclaimed Caged Inventory Consumers”) did not respond to the Receiver’s

offer to Sell their item(s) in the Caged Inventory to the Purchaser or to have their

 

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item returned to them (“Unclaimed Caged Inventory”).l The sum of the Purchaser’s
initial offer to the Unresolved Caged Inventory Consumers is $7,900. Pursuant to
the Warehouse Sale Order, the Purchaser is in the process of purchasing the
Unclaimed Caged Inventory from the Receiver for a price equal to 90% of the
amount initially offered to the consumer by the Purchaser which will be paid to the
Receivership Estate less certain shipping costs which the Purchaser is authorized to
charge back to the Receivership. The Receiver anticipates netting approximately
$3,600 from the purchase of these items from the Receivership Estate. A copy of
the list of the Unresolved Caged Inventory Consumers and the initial amounts
offered has been provided to the Plaintiff FTC but has not been filed with this Court
due to privacy issues.

14. Secured Creditors and Lienholders: With the exception of certain
tax liens, which are addressed below, the Receiver has satisfied all liens of record
existing with respect to the assets in the Receiverships. lndeed, through negotiations
with secured creditors and challenges to the validity of certain asserted liens, the

Receiver was able to reduce the total amount of asserted lien claims by over

$300,000.

 

1 The Receiver continues to receive occasional calls from the Unresolved Caged Inventory Consumers regarding
their devices and has been working to resolve their claim with the Purchasers.

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15. Proposed Distribution Plan for Available Funds. After satisfying all
lien claims, the Receiver is currently holding $423,663 to be disbursed after the
approval of this Final Report and the Final Fee Application (as defined below) filed
contemporaneously herewith. The Receiver proposes to distribute these funds as

follows:

A. State and Federal Payroll Taxes. Payroll tax claims have been
asserted against Defendant Laptop & Desktop Repair LLC (“LDR”) for
unpaid payroll taxes incurred prior to the appointment of the Receiver. The
amount owed to Internal Revenue Service for federal payroll taxes is
$16,937.98. The amount owed to the State of Nevada is $5,675. In addition,
Nevada has assessed Modified Business Tax of $283. The Receiver has
verified the calculation of these claims and requests that he be permitted to
pay the total amount owed of $22,895.98 plus any additional amount which
may be necessary to fully discharge and settle such tax claims provided that
the Receiver will pay only the principal amount due and not any interest or
penalties.

B. Unclaimed Checks Issued to Consumers. The Receiver is
holding funds in the amount of $21,995 related to 523 unclaimed checks
issued to consumers which were issued in September 2016 , just prior to the
appointment of the Receiver but which did not clear LDR’s bank accounts
prior to the Receiver freezing those accounts (the “Checks”). The Checks
were issued, but did not clear prior to the freeze, in connection with consumer
sales of equipment to the Defendants. To the best of the knowledge,
information and belief of the Receiver, these consumers sold their item but
were not compensated and the Receiver has concluded that this is the only
method of compensating these consumers for their loss. The Receiver
proposes and hereby seeks authority to reissue the Checks to the respective
consumers In connection therewith: (a) all reissued Checks shall be required
to be negotiated within thirty (30) days of the date of issuance (the “Stale
Date Deadline”), and (b) checks returned without a Valid forwarding address

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or checks uncashed after the Stale Date Deadline will be deemed void. The
Receiver proposes to turn over to the FTC the proceeds of any reissued Checks
that are uncashed after the Stale Date Deadline. The Receiver has provided a
list of the Checks and payors to the Plaintiff FTC and will produce a copy to
the Court upon request. The Receiver did not want to file this list on the public
record due to privacy concerns.

C. Nevada Labor Commissioner Claim: The Labor Commission
of Nevada (the “Labor Commissioner”) has asserted claims in the amount of
$14,528 against the Receiver related to wage claims asserted with the Office
of the Labor_Commission for Nevada. However, of this amount, $l 1,413.50 t
is comprised of penalties and only $3,114.50 is an actual wage claims. The
Receiver proposes to pay the Labor Commissioner the sum of $3,114.50 in
satisfaction of its claim.

D. Paper Check Wages. At the time the Receiver was appointed
and took possession and control of the Receivership Bank Accounts, LDR was
in the process of completing a payroll. Although that process was mostly
completed and most of the LDR employees received their paychecks through
a direct deposit into their bank accounts, five employees who received their
wages though a physical check did not receive payment of this payroll as their
checks were not honored by the bank due to the account freeze. The Receiver
proposes to pay the five employees a total of $5,277 plus the employer tax
obligation representing their missed payroll. The Receiver has provided a list
of these employees and the amount of their wages to the Plaintiff FTC and
will produce a copy to the Court upon request. The Receiver did not want to
file this list on the public record due to privacy concerns. In connection
therewith: (a) all payments issued by the Receiver shall be required to be
negotiated within “Stale Date Deadline”, and (b) payments returned without
a valid forwarding address or checks uncashed after the Stale Date Deadline
will be deemed void. The Receiver proposes to turn over to the FTC the
proceeds of any payments that are uncashed after the Stale Date Deadline.

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16. Accordingly, the Receiver proposes to pay $53,282 to the claimants
listed above (collectively and individually, the “Distributions”).

17 . Claims which will receive no distribution. The primary purpose of
this Receivership was to protect the interests of consumers defrauded by the actions '
of the Defendants and their principals. The Receiver respectfully submits that this
overarching goal has been achieved. However, due to limited funds and resources,
and the importance of protecting consumers, there are specific groups of unsecured
creditors which will not receive any distributions if this Motion is granted It
should be noted that if the Receiver were to go through a claims review process
with respect to these claims, a significant portion of any distribution would be
required to review, adjust and administer these claims, possibly rendering such an
effort impractical and unfeasible. The decision to not pay these claims was made
in consultation with the Plaintiff FTC.

A. Employee Wage Claims. At the time the Receiver was appointed,
LDR has just completed funding a payroll. However, LDR paid its employees two
weeks in arrears and because of the closing of LDR, the LDR employees were
never paid wages for their last two weeks of work. T hese wages total $53,985.46

These claims will not be paid. The Receiver has a list of the affected employees
and will send a copy of this Motion to these employees.

B. Miscellaneous Unsecured and Vendor Claims: Due to limitations
of available funds, the Receiver did not conduct any claims reconciliation process
for unsecured claims. The Receiver believes, based on the information available
to him, that there is approximately $225,000 in accounts payable to vendors of
LDR and an additional $500,000 in unsecured loans (mostly credit card debt)
incurred by Defendant LDR. These claims will not be paid. The Receiver does
have a list of both the vendors and financial institutions owed money on an

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unsecured basis and will serve a copy of this Motion upon them.

C. Shareholder Claims: No distributions will be made to any
shareholders or owners of any of the Receivership Defendant in this case.

18. The Receiver estimates that if this distribution plan is approved and if
this Court approves the payment of professional fees below, that the amount of
remaining funds will be approximately $300,000. Per the relief sought below, these
remaining funds will be paid to the Plaintiff FTC which has advised the Receiver
that it will establish a victim claim fund to distribute these funds to consumers
damaged by the conduct of the Defendants herein.

III. M()TION TO ESTABLISH RESERVE, REISSUE CHECKS, AND
DISBURSE FUNDS

19. The Receiver and the professionals of the Receiver filed an application
on November 29, 2017, seeking compensation in this case for the period between
September 26, 2016, through August 31, 2017 [ECF No. 53] and such application
was granted by Order of this Court on December 14, 2017 [ECF No. 55]. The
approved compensation was paid by the Receiver.

20. The Receiver and attorneys of the Receiver have incurred additional
time and expenses in concluding the administration of this Receivership and will
likely incur additional expenses in the future in closing out the Receivership.
Contemporaneously with the filing of this Final Report, the Receiver and the

professionals of the Receiver are filing a request for approval of compensation and

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reimbursement of expenses (the “Final Fee Application”). The Receiver is
requesting additional compensation in the amount of $34,081.50 and
reimbursement of expenses in the amount of $647.59. The Receiver’s counsel is
requesting compensation in the amount of $16,372.50. The Receiver asserts that
the requested professional fees: a) have been necessary for the preservation of the
Receivership; b) are reasonable; and c) reflect a 10% to 20% discount of hourly
` rates that are consistent with the prevailing hourly rates charged in the Atlanta
business and legal community

21. The Receiver anticipates that additional work will need to be performed
even after the entry of an Order approving this Final Report and Motion. For
example, the Receiver will incur costs in making the final distribution in this case.
Accordingly, the Receiver requests a reserve in the amount of $25,000 (the
“Reserve”) and the authority to pay such funds as the Receiver determines is
appropriate in the sole discretion of the Receiver to pay the Receiver, professionals
of the Receiver, or any other parties to wind-down or close the Receivership. Any
surplus Reserve remaining after the payment of outstanding fees and expenses shall
be turned over to the FTC on or before December 31, 2018.

22. Turnover of Remaining Funds to the FTC. Assuming that this Court
approves the Reserve, the compensation and reimbursement of expenses requested

in the Final Fee Application, and the payment of the Distributions, the total

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remaining funds available in the Receivership would total approximately $300,000.
This amount may change due to interest income incurred, uncashed checks or other
factors that may occur prior to the final distribution of funds from the Receivership.
The Receiver proposes to turnover the funds remaining in the Receivership after
the payment of the Distributions, all fees and expenses of the Receivership, including
the Reserve and the fees and expenses requested in the Final Fee Application to the
FTC in conjunction with the closure of the Receivership.

IV. M()TION TO ABANDON RECORDS AND ASSETS, INCLUDING
401K PLAN.

23. The Receiver is in possession of voluminous records of the
Receivership Defendant in this case that were procured by the Receiver pursuant
to the Receivership Orders. The Receiver asserts that the continued storage and
retention of these documents is unnecessary and burdensome and proposes to
abandon and dispose of same. Also, to the extent the Receiver still holds any
equipment or personal property which has no value, the Receiver requests authority
to abandon same. The Receiver accordingly requests authority to abandon and
dispose of these records and assets.

24. In addition to these records and assets, LDR maintained a 401(k) plan
(the “401K Plan”) as the Plan Sponsor and the sole Plan Administrator (“Plan
Administrator”) was Vadim Kruchinin who left the county. There is no authorized

party to sign on behalf of the Plan Administrator. Paychex, Inc. served as the Plan

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Custodian (the “Custodian”). The 401K Plan had an identification number 230966
With had a separate Federal ID number from the Receiverships Estate. The Receiver
completed form to terminate the 401K Plan but did not sign as the Plan
Administrator. On February 1, 2017 the Custodian terminated the 401K Plan and
mailed notices to all participants to withdraw funds from their 401(k) account and
most all of the account were closed. Since the Receiver is not an authorized Plan
Administrator he has not been able to access information on who is left in the 401K
Plan, but from monthly statements is cognizant there remain 8 participants in the
401K Plan, but no hinds remain in the 401K Plan due to assessments of costs and
fees by the Custodian. The Custodian continued to charge monthly fees to the 401K
Plan of $173.00 from the remaining cash and used up all remaining fund in fees.
The Receiver had completed appropriate forms for involuntary distributions and for
the Custodian to establish separate bank account for all remaining participant’s
funds; however, the Custodian Would not process as the Receiver was not the Plan
Administrator. The Receiver Estate has no authority over the 401K Plan and is not
the responsible appropriate party to file Form 5500 or other tax returns that may be
due. The Receiver requests authority to abandon any interest of the Receiver Estate
in the 401K Plan. The Receiver is advised and informed that if this happens and the

401K Plan is abandoned, it will become an “orphan” plan under applicable laws

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pursuant to which the Custodian will be required to file the appropriate tax forms

and close the 401K Plan.

V. MOTION TO CLOSE RECEIVERSHIP, DISCHARGE AND
RELEASE RECEIVER, AND EXONERATE BOND OF RECEIVER

25. Upon completion of the payment of the Reserve, all professional fees
and expenses, the Distribution, and turnover of cash remaining in the Receivership
to the FTC, the Receiver will file a report with the Court indicating that such
distributions have been made (the “Report of Distributions”). The Receiver
requests that the Receivership be deemed terminated upon the filing of the Report of
Distributions without further order of this Court.

26. The Receiver requests that, subject to the terms and conditions set forth
herein that the Receiver be released and discharged as Receiver in this case and the
Receiver’s bond be exonerated The Receiver further requests that the Receiver and
the professionals of the Receiver be released and discharged from any and all claims
and causes of action which might be brought against the Receiver or any
professionals of the Receiver for matters arising from the administration of the assets
turned over to the Receiver and, to the extent that any person or entity nevertheless
seeks to pursue and claim or action against the Receiver or the professionals of the
Receiver arising out of the duties as Receiver, the Receiver requests that this Court

retain jurisdiction to hear any such claim.

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27. In order to complete the administration of and close this case, the
Receiver requests that this Court enter an Order releasing and discharging the
Receiver and any professionals of the Receiver and authorizing and directing the
Receiver to do the following:

a) Approve the Final Accounting;

b) Authorize the Receiver to make and pay the Distributions;

c) Establish the Reserve and authorize the Receiver to distribute the Reserve in
the sole discretion of the Receiver;

d) Turnover to the FTC the funds remaining in the Receivership after the
payment of the Distributions, including the proceeds of any uncashed
checks, and any compensation and reimbursement of expenses awarded to
the Receiver and his professionals;

e) To abandon the records and assets set forth above;

f`) To abandon the 401K Plan; and

g) File a Report of Distributions with this Court certifying that the distributions
set forth herein have been made.

WHEREFORE, the Receiver requests that the Court enter an Order,

substantially in the form as the proposed Order attached hereto as Exhibit “B” and

incorporated herein by reference, that approves the Final Report, grants the Motion

and relief requested herein, and grants such other and further relief as may be just

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and proper.

»Respectfully submitted this 24th day of May, 2018.

LAW OFFICES OF HENRY F. SEWELL JR., LLC

/s/ Henry F. Sewell, Jr.
Henry F. Sewell, Jr.
Georgia Bar No. 636265
Counsel for the Receiver

Law Offices of Henry F. Sewell, Jr., LLC
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EXHIBIT A

FINAL ACCOUNTING

CaS€ 1216-CV-03591-AT

Laptop & Desktop Repair LLC
Coney |s|and 84 Inc.

Recoveries to Date:
Arrascada & Arrascada LTD
Cash
LDR -First |ndependent Bank.
LDR - US Bank
Angres Trust Account
LDR -We||s Fargo
B-Stock Solutions
84 Coney |s|and, Sparks, NV (Net')
|nventory & Personal Property
5390 Vista Ridge, Reno, NV (Net)

Coney |s|and 84 BankAccount at F|B

Rent - 84 Coney Island Drive

Expenses to Date:
Westem Altiance Bank

Uti|ities, lnsurance, appraisa|s, etc.

Receiver Professi ona| s
Taxes
Consumer Payments

Receiver Cash 4/30/18

Additiona| Recoveries:

Purchase of Unc|ai med Caged |nventory

Professional Fees and Other Expenses:
Receiver Fees & Expenses
Henry F. Sewel|, Jr. LLC Fees & Exp
Ho||and & Hart LLP

Trust Account

Cash at Facl|ity
Closed LDR Account
Closed LDR Account
Trust Account

Closed LDR Account
Accounts Receivab|e
Rea| Property

At 84 Coney |s|and Drive
Kruchin Real Property
Close Acct

Subtenant

Persona| Property Lien
Paid from Estate Funds
Thru Aug 2017

|ncome, Payro||, State, Etc.
To be Relmbursed by Pu|se

90% ofamount offered to consumer less shipping costs

9/1/17 -4/30/18
9/1/17-4/30/18
NV Counsel

Anticipated Remainlng Professional Fees & Expenses (Est)

Net Remaini ng After Administrative Expenses

Proposed Distributions
Outstanding Consumer Checks
Final Employee Payro||
State of Nevada Lien
State of Nevada
Nevada Labor Commissioner
internal Revenue Service

523 Checks(9/1/16 -9/29/16)
Paper Checks (5 Employees not paid)
Employment Security Div +Pena|ties
Modif`ied Business Tax

Federa| Payroll Lien

Estimated Net to Turn Over to Federa| Trade Commission

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$8,977
$506
$6,210
$21,658
$9,727
$230
56,930
5556,609
$200,000
$120,924
$7,589
$18,650
$958,009

$200,000
$22,840
$310,543
$571
$393
$534,346

$423,663

$3,651

$34,729
$16,373

$1,293
$25,000
$77,395

$349,919

$21,995
$5,277
$s,675
$283
$3,115
$16,937

$53,282

$296,637

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Exhibit B
(Proposed Order)

 

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UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

 

FEDERAL TRADE COMMISSION
and STATE OF GEORGIA,

Plaintiffs,
v.

LAPTOP & DESKT()P REPAIR, LLC, Case No. 1:16-CV-3591-AT
a Nevada limited liability company, also
d/b/a cashforiphones.com,
cashforlaptops.com, ecyclebest.com,
Smartphonetraders.com, sell-your-
cell.com; and VADIM OLEGOVICH
KRUCHININ, also a/k/a Vadim
Kruchin, David Kruchin, David Vadim
Kruchin, Dave Kruch, as the owner and
an officer of Defendant Laptop &
Desktop Repair, LLC,

Defendants.

 

 

ORDER APPROVING FINAL REPORT BY RECEIVER AND MOTION
FOR AN ORDER (A) APPROVING ACCOUNTING; (B) AUTHORIZING
RESERVE, PAYMENT OF ADMINISTRATIVE EXPENSES AND
PR()FESSIONAL FEES AND COSTS AND FINAL DISBURSEMENTS;
(C) AUTHORIZING THE ABANDONMENT OF REMAINING
RECORDS, ASSETS AND 401K PLAN; AND (D) DISCHARGING AND
RELEASING THE RECEIVER AND CLOSING RECEIVERSHIP

This matter came before the Court on the Fz'nal Report by Receiver and

Motion for an Order (a) Approving Accounting,' (b) Authorizing Reserve,

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Payment of Administratz`ve Expenses and Professional Fees and Costs, and Final
Disbursements,' (c) Authorizing the Abandonment of Remaining Records and Assets;
and ( d ) Discharging and Releasing Receiver and Closing Receivership and
Memorandum in Support Thereof (the “Final Report” and “Motion”) filed by Hays
Financial Consulting LLC and S. Gregory Hays, the duly authorized and acting
Receiver herein (collectively, the “Receiver”).

Following notice to all creditors of the Receivership Defendant2 known to the
Receiver and parties in interest entitled to notice, no objection was filed in opposition
to the Final Report or Motion. After thorough consideration of the Motion, the Final
Fee Application, the record, facts and circumstances related to the Receivership, this
Court finds that the approval of the Final Report and Motion is in the best interests
of the Receivership, the creditors of the Receivership Defendant, and all parties in
interest Accordingly, for good cause shown and without the necessity of further
notice or hearing, it is hereby ORDERED and ADJUDGED that:

1. Notice of the Final Report and Motion is deemed appropriate and in
accordance with the prior orders of this Court.

2. The Motion of the Receiver is granted in its entirety.

 

2 Capitalized terms not defined herein shall have the meaning ascribed to such terms in the Final
Report and Motion.

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3. Approval of Final Report and Accounting. The Final Report of the Receiver
is approved, and all actions and activities taken by or on behalf of the Receiver
and all payments made or to be made by the Receiver in connection with the
administration of the Receivership are hereby approved and confirmed

4. Destruction of Records. The Receiver is authorized to abandon and destroy
the electronic and paper records of the Receivership Defendant and of any
other related entities or businesses related to the Receivership in the

_ possession, custody or control of the Receiver if, within 30 days after service
of written notice to the FTC, the Receiver has not been served with a written
request by the FTC for the records or a subpoena by a law enforcement
agency. If during such 30-day period, the Receiver is served with a written
request for the records by the FTC or subpoena by a law enforcement agency,
the Receiver shall be authorized to turn over the original records to the FTC
or a law enforcement agency in response to the request or subpoena

5. Abandonment of Assets. All assets not distributed or otherwise administered
by the Receiver as of the closing of the Receivership are deemed abandoned
Abandoned assets may be destroyed or discarded, without regard to title or
value, in the sole and absolute discretion of the Receiver.

6. Abandonment of 401K Plan. The 401K Plan as identified above is deemed

abandoned and the Receiver is authorized to take any and all actions and

 

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execute such forms and documents as may be necessary to effectuate such
abandonment

. Discharge. Neither the Receiver nor any agent, employee, member, officer,
independent contractor, attorney or representative of the Receiver shall have
any liability to any person or entity for any action taken in good faith in
connection with carrying out the administration of this Receivership and the
exercise of any powers, duties and responsibilities in connection therewith
Effective upon the completion of the final distribution of funds maintained in
the Receivership and filing of the Report of Distributions, the Receiver and
any agents, employees, members, officers`, independent contractors, attorneys
and representatives of the Receiver are fully: (a) discharged of all duties,
responsibilities, obligations, and liabilities in connection with the
administration of the Receivership and from any other obligation imposed by
the Receivership Orders or any other orders of the Court; (b) released from
any and all claims and liabilities arising out of and/or pertaining to the
Receivership; and (c) relieved of all liabilities, duties and responsibilities
pertaining to the Receivership.

. Administrative Fees and ExDenses. All receivership administrative fees and
expenses incurred in this Receivership proceeding, including the fees and

expenses of the Receiver and those of any professionals of the Receiver

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incurred and paid or to be paid in connection with the Receivership, are hereby
approved, and all administrative expenses and professionals' fees and
expenses incurred from the date of the entry of the Receivership Orders
through the closing of the Receivership and the discharge of the Receiver are
hereby approved and authorized to be paid from assets of the Receivership.

9. Establishment ofReserve for Closing Tasks. The Receiver is authorized to: a)
maintain a reserve from assets of the Receivership in the amount of $25,000
(the “Reserve”) and to make payments from the Reserve at the sole discretion
of the Receiver to pay the Receiver, professionals of the Receiver, or any other
parties to wind-down or close the Receivership. Any surplus Reserve
remaining after the payment of outstanding fees and expenses shall be turned
over to the FTC.

10.Pavrnent of Distributions. The Receiver is authorized to pay the Distributions
as defined in the Motion. In connection therewith all payments shall be
required to be negotiated within thirty (30) days of the date of issuance (the
“Stale Date Deadline”), and checks returned without a valid forwarding
address or checks uncashed after the Stale Date Deadline are hereby deemed
void The Receiver shall turn over to the FTC the proceeds of any payments
that are not negotiated after the Stale Date Deadline and the unclaimed balance

of amounts paid for the Unclaimed Caged Inventory.

 

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ll.Final Distribution. The Receiver is hereby authorized to make a final
distribution of the Receivership assets remaining after the payment of the
Distributions by turning over the remaining assets to the FTC.

12.Bond Exoneration. The Receiver’s bond shall be exonerated effective upon
the completion of the Receiver’s payment of administrative expenses and final
distribution of funds as provided herein.

13.0utstanding Tax Returns. The Receiver is not responsible and has no liability
for any tax returns for or related to the Receivership or the Receivership
Defendant.

l4.Jurisdiction. This Court shall retain jurisdiction over any and all matters
relating to the Receiver and the Receivership, including any matters relating
to the distribution of funds received by the Receiver in connection with the
obligations of the Receiver or otherwise received after the Receivership is
closed To the extent that any dispute arises concerning the administration of
the Receivership or to the extent that any person or entity seeks to pursue or
assert any claim or action against the Receiver or any agent, employee,
member, officer, independent contractor, attorney or representative of the
Receiver, arising out of or related to this Receivership, the Court shall retain

jurisdiction to hear and resolve any such dispute or claim.

 

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lS.Notice of Funds Distribution. After the final distribution of funds as ordered
by the Court, the Receiver shall file a Report of Distributions. The
Receivership shall be deemed closed and terminated upon the filing of the
Report of Distributions without further Order of this Court.

IT IS SO ORDERED, this day of , 2018.

 

Judge
United States District Court
Northern District of Georgia, Atlanta
Division

 

 

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CERTIFICATE OF COMPLIANCE

This is to certify that to the best of my knowledge this document has been
prepared With one of the font and point selections approved by the Court in LR 5 lB,

pursuant to LR 7. Specifically, the above-mentioned document has been prepared
using Times New Roman font, 14 point

This the§;\day of May, 2018.

LAW OFFICES OF HENRY F. SEWELL JR., LLC

/s/ Henry F. Sewell, Jr.
Henry F. Sewell, Jr.
Georgia Bar No. 636265
Counsel for the Receiver

Law Offices of Henry F. Sewell, Jr., LLC
Buckhead Centre

2964 Peachtree Road NW, Suite 555
Atlanta, GA 30305

(404) 926-0053

hsewell@sewellfirm.com

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IN THE UNITED STATES DISTRICT COURT
F()R THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

FEDERAL TRADE COMMISSION

and STATE OF GEORGIA
Plaintiffs. Civil Action File No:

1:16-cv-3591-AT

v.

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§
LAPTOP & DESKT()P REPAIR )
LLC, )
A Nevada Limited Liability )
Company, also )
d/b/a cashforiphones.com, )
cashforlaptops.com, ecyclebest.com, )
smartphonetraders.com, sell-your- )
cell.com; and VADIM OLEGOVICH )
KRUCHININ, also a/k/a Vadim )
Kruchinin, David Kruchinin, David )
Vadim Kruchinin, Dave Kruch, as the )
owner and an officer of Defendant )
Laptop & Desktop Repair, LLC, )

Defendants

CERTIFICATE OF SERVICE

I hereby certify that on May 24, 2018, I electronically filed Final Report b y
Receiver and Motion for an Order (a) Approving Accounting; (b) Authorizing
Reserve, Payment ofAdmz`nz'slrative Expenses and Professz`onal Fees and Costs, and
Final Disbursements,' (c) Authorizing the Abandonment of Remaining Records,

Assets and 401K Plan,' and (d) Discharging and Releasing Receiver and Closz'ng

 

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Receiversth and Memorandum in Support Thereof with the Clerk of the Court using
CM/ECF. I also certify that the foregoing documents were served on all parties and
the persons identified below via transmission of Notice of Electronic Filing
generated by CM/ECF as set forth below. The foregoing Motion will also be served
on other creditors and parties in interest via first class mail and a supplemental
certificate of service will be filed with this Court upon completion of that additional

service.

Anna Mirshak Burns

Hans Christian Clausen

Federal Trade Commission-ATL
Atlanta Regional Office

Suite 1500

225 Peachtree Street, NE
Atlanta, GA 30303-1729

Via ECF

Jacquelyn L. Kneidel, Esq.

Assistant Attomey General
Consumer Protection Unit

2 Martin Luther King, Jr. Drive, S.E.
Suite 870, East Tower

Atlanta, GA 30334-4900

Via ECF

This the 24th day of May, 2018.

/s/ Henry F. Sewell, Jr.
Henry F. Sewell, Jr.
Georgia Bar No. 63 6265
Counsel for the Receiver

